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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                   No. 4:11-CR-00200 JMM

CARUTHERS CORDALE DUKES                                                           DEFENDANT

                              FINAL ORDER OF FORFEITURE

       Before the Court is the United States’ motion for final order of forfeiture (Dkt. 119 ). On

September 11, 2012, this Court entered a Preliminary Order of Forfeiture (Dkt. 106), which

ordered Dukes to forfeit his interest in the following property:

               (1)     One Norinco, model SKS, 7.62 x 39 caliber rifle, bearing serial number
                       11155108I,

               (2)     One Beretta, model 92FS, 9-millimeter pistol, bearing serial number
                       BER317543,

               (3)     Twenty-six (26) rounds of Remington brand .45 caliber pistol
                       ammunition,

               (4)     Eight (8) rounds of CCI brand 9mm pistol ammunition,

               (5)     Sixteen (16) rounds of Remington brand 9mm pistol ammunition,

               (6)     Eleven (11) rounds of Winchester brand 9mm pistol ammunition,

               (7)     Eight (8) rounds of Wolf brand 7.62 x 39 caliber ammunition, and

               (8)     Thirty-eight (38) rounds of Winchester brand .223 caliber rifle
                       ammunition.

(collectively “property subject to forfeiture”).

       The Court’s Preliminary Order provided that it would become final as to Dukes at the

time of sentencing and that it would become a final order of forfeiture if no third party filed a

timely claim to the property subject to forfeiture. The Court has sentenced Dukes, and no one
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has filed a claim to the property subject to forfeiture. The preliminary order of forfeiture,

therefore, ripens into a final order of forfeiture. The United States’ motion (Dkt. 119) is

GRANTED.

       It is so Ordered this 16th day of November 2012.




                                           James M. Moody
                                           United States District Judge
